 GUB 9073-1 (08/2013)
FILER’S NAME, ADDRESS, PHONE, FAX, EMAIL:
Ford Elsaesser, ISB #2205
Bruce A. Anderson, ISB #3392
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Debtor:               ARCHBISHOP OF AGAÑA                               Case No.:   19-00010
Joint Debtor:
                                                                        Chapter:        Click here to choose a chapter
                                                                                       11
(if any)
                                                                        Adversary Proceeding No. (if applicable):
[If Adversary Proceeding, complete information below. Use “et al” if
multiple parties.]

Plaintiff(s):
vs.
Defendant(s):
                                     NOTICE OF HEARING                  Hearing Date: 35T
                                       4th Floor Courtroom,             Time:         October
                                                                                      35T          18, 2019 8:30 AM
                                     520 West Soledad Avenue
                                                                        Objections Due: October
                                                                                        35T     14, 2019
                                      Hagatna, Guam 96910
Matter Being                                                                                            Related Dkt No.:
Heard:                              Interim Application for Compensation of Realtor                              257
Moving Party:                       Debtor, ARCHBISHOP OF AGAÑA
NOTICE IS HEREBY GIVEN that this matter is set for hearing at the date and time above. The relief being
requested consists of the following. [Briefly describe the relief sought, including pertinent details.]
  REMAX Diamond Realty seeks compensation of its reasonable professional fees (commission) as
  an administrative expense in the amount of $305,000.00, to be paid out of the proceeds of the sale
  of real property known as the Accion Hotel Property, by the Debtor, at closing of the sale of the
  property.




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Your rights may be affected. You should read the motion or application and the accompanying papers
carefully and discuss them with your attorney if you have one in this bankruptcy case or proceeding. (If
you do not have an attorney, you may wish to consult one.)

If you do not want the court to grant the relief sought in this motion, or if you want the court to consider your
views on the motion, then you or your attorney must file a statement explaining your position not later than the
date below
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                                                                  35T

Statements must be filed with the court at:

                                   District Court of Guam
                                   Bankruptcy Division
                                   4th Floor, US Courthouse
                                   520 West Soledad Avenue
                                   Hagatna, GU 96910

If you mail your response to the court, you must mail it early enough so the court will receive it on or before
the deadline stated above. The court may disregard any response filed untimely.

You must also mail or transmit a copy to the moving party at:

                        Responses to be sent to:
                       Bruce A. Anderson
                       ELSAESSER ANDERSON CHTD.
                       320 East Neider Avenue, Suite 102
                       Coeur d'Alene, ID 83815
                       Fax: (208) 667-2150
                       brucea@eaidaho.com




If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought in
the motion or application and may enter an order granting that relief.

If no objection to the relief being sought is filed by the deadline stated above, the court may grant the
requested relief AND cancel the hearing (although certain types of motions will remain on the court’s
calendar).




       9/25/2019
Dated: _______________________
                                                              Bruce A. Anderson
                                                           /s/__________________________________________________
                                                             for Movant           (Print name also if original signature)




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